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     IT IS ORDERED as set forth below:



     Date: November 18, 2020
                                                    _________________________________

                                                             Barbara Ellis-Monro
                                                        U.S. Bankruptcy Court Judge

 ________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      )        CASE NO. 18-64049-BEM
                                            )
ANGELIA THACKER COGLEY,                     )        CHAPTER 7
                                            )
         Debtor.                            )
                                            )
                                            )
S. GREGORY HAYS, Trustee for the            )
Estate of Angelia Thacker Cogley,           )
                                            )
         Movant,                            )        CONTESTED MATTER
                                            )
v.                                          )
                                            )
TONYA LOGAN and DAVID LOGAN,                )
CHEROKEE COUNTY TAX                         )
COMMISSIONER,                               )
CHRISTY COGLEY, and                         )
ANGELIA THACKER COGLEY,                     )
                                            )
         Respondents.                       )
                                            )

                 ORDER ON TRUSTEE’S MOTION FOR AUTHORITY TO
     (A) SELL PROPERTY OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL
         LIENS, INTERESTS, AND ENCUMBRANCES AND (B) DISBURSE CERTAIN
                             PROCEEDS AT CLOSING


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        On October 19, 2020, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate (the “Bankruptcy Estate”) of Angelia Thacker Cogley (“Debtor”), filed

Trustee’s Motion for Authority to (I) Sell of Property of the Bankruptcy Estate Free and Clear of

Liens, Interests, and Encumbrances and (II) Disbursement of Certain Proceeds at Closing [Doc.

No. 39] (the “Sale Motion”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr.

P. 2002(a)(2), 6004(a), 6004(c), and 9014. In the Sale Motion, Trustee is seeking, among other

things, an order from the Court authorizing the sale (the “Sale”) of that certain real property

commonly known as 461 (consisting of 321, 461 and 0) Reavis Mountain Road, Ball Ground

Cherokee County, Georgia 30107 (the “Property”) to Matt Ragsdale (the “Purchaser”) for a

sale price of $181,125.00 in accordance with the terms of a Purchase and Sale Agreement (the

“Contract”) attached to the Sale Motion as Exhibit “A.”

        Also on October 19, 2020, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 41] (the “Notice”) regarding the Sale Motion, in accordance with General

Order No. 24-2018. Counsel for Trustee certifies that he served the Notice on all requisite

parties in interest on October 19, 2020. [Doc. No. 42].

        The Notice provided notice of the opportunity to object and for hearing scheduled for

November 24, 2020 at 10:00 a.m., pursuant to the procedures in General Order No. 24-2018. No

objection to the Sale Motion was filed prior to the objection deadline provided in the Notice.

        Having considered the Sale Motion and all other matters of record, including the lack of

objection by any creditor or party in interest to the relief requested in the Sale Motion, and based

on the foregoing, finding that no further notice or hearing is necessary; and, the Court having

found good cause exists to grant the relief requested in the Sale Motion, it is hereby

        ORDERED that the Sale Motion is GRANTED. It is further



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        ORDERED that the Contract is APPROVED and its terms are incorporated into this

Order. It is further

        ORDERED that Trustee is authorized and directed to take any and all actions necessary

or appropriate to (a) consummate the Sale of the Property to Purchaser and perform under the

terms of the Contract; (b) execute, perform, consummate, implement, and close fully the Sale

together with all additional instruments and documents that may be reasonably necessary; and (c)

execute and perform all of the obligations of Trustee under the Contract. It is further

        ORDERED that this Order shall be binding upon all creditors (whether known or

unknown) of Debtor, Purchaser, Trustee, the Bankruptcy Estate, and their respective successors,

assigns, affiliates, and subsidiaries. It is further

        ORDERED that upon consummation of the closing of the Sale, the Property shall be

transferred and assigned to Purchaser free and clear of all liens, claims, interests, and

encumbrances with all unpaid, valid, and enforceable liens, claims, interests, or encumbrances

attaching to the sale proceeds with the same extent, validity, and priority that they held in the

Property. It is further

        ORDERED that the Sale of the Property to the Purchaser is “as is,” “where is,” and

without representation or warranty, express or implied, from Trustee. It is further

        ORDERED that the transactions contemplated by the Contract and this Order are

undertaken by the Purchaser in good faith, as that term is used in Section 363(m) of the

Bankruptcy Code, and accordingly, the reversal or modification on appeal of the authorization

provided herein to consummate the Sale of the Property shall not affect the validity of the Sale to

the Purchaser, unless such authorization is duly stayed pending such appeal. The Purchaser is a

purchaser in good faith of the Property, and he is entitled to all the protections afforded by



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Section 363(m) of the Bankruptcy Code. It is further

        ORDERED that, under Fed. R. Bankr. P. 6004(h), this Order shall be effective and

enforceable immediately upon entry, and its provisions shall be self-executing. In the absence of

any person or entity obtaining a stay pending appeal, Trustee and Purchaser are free to close the

Sale of the Property at any time, at which time the gross sales proceeds shall be paid to Trustee

pursuant to this Order, and those disbursements requested by the Trustee in his Sale Motion are

authorized to be made, including 50% of the net sale proceeds to Christy Cogley in accordance

with terms of the Consent Judgment [A. P. Docket No. 10]. It is further

        ORDERED that this Court retains exclusive jurisdiction over any action relating to,

based upon, or arising from disputes or controversies relating to or concerning the Sale, the

Contract, or this Order.

                                    [END OF DOCUMENT]




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Order prepared and presented by:

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Identification of parties to be served:

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